
361 Mich. 420 (1960)
105 N.W.2d 117
McLOUTH STEEL CORPORATION
v.
CORPORATION &amp; SECURITIES COMMISSION.
Docket No. 37, Calendar No. 48,487.
Supreme Court of Michigan.
Decided September 16, 1960.
*421 Dickinson, Wright, McKean &amp; Cudlip (William B. Cudlip, T. Donald Wade, and Ernest Getz, of counsel), for plaintiff.
Paul L. Adams, Attorney General, Samuel J. Torina, Solicitor General, T. Carl Holbrook and William D. Dexter, Assistants Attorney General, for defendant.
PER CURIAM:
The decisive question in this case is governed by the majority decision in the case of the Detroit Edison Company v. Corporation &amp; Securities Commission, 361 Mich 150.
The decision of the appeal board in the instant case is reversed, set aside and held for naught, and the case is remanded for further proceedings consistent with the majority opinion in the Detroit Edison Company v. Corporation &amp; Securities Commission. No costs, a public question being involved.
DETHMERS, C.J., and CARR, KELLY, SMITH, BLACK, EDWARDS, and KAVANAGH, JJ., concurred.
SOURIS, J., did not sit.
